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         EXHIBIT 2
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Contact
                                   Sanjay D.
www.linkedin.com/in/sanjay-d-      Director, Strategic Portfolio Management at Amneal Pharmaceuticals
b8b0a612 (LinkedIn)                United States

Top Skills                         Summary
Continuous Improvement
                                   Over 15 years of experience in leading and providing hands-on
Manufacturing Operations
                                   involvement on all stages of projects ranges from API manufacturing
Process Engineering
                                   to package finish products. Develop detailed project plans including
Certifications                     timeline, monitor and track project progress for all R& D, 505b2 and
                                   ANDA projects. Coordinate internal and external resources from
Project Management Professional
                                   project initiation to completion including LOA, CDA, MSA, PSA with
                                   API Vendors and Clinical sites. Manage changes to project scope,
                                   project schedule and project budget. Built and managed strong
                                   productive working relationships with internal and external business
                                   stakeholders.



                                   Experience
                                   Amneal Pharmaceuticals
                                   3 years 2 months

                                   Director, Strategic Portfolio Management
                                   February 2022 - Present (8 months)


                                   Associate Director, Strategic Portfolio Management
                                   August 2019 - February 2022 (2 years 7 months)
                                   New Jersey, USA


                                   BIONPHARMA, INC.
                                   Associate Director - Projects & Tech Services
                                   May 2018 - July 2019 (1 year 3 months)
                                   Princeton, NJ


                                   Kashiv Pharma LLC
                                   2 years 8 months

                                   Sr. Project Manager
                                   April 2018 - May 2018 (2 months)
                                   Bridgewater, NJ


                                   Project Manager
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                  October 2015 - April 2018 (2 years 7 months)
                  Bridgewater, New Jersey


                  Tris Pharma
                  Technical Services Engineer II
                  May 2015 - October 2015 (6 months)
                  New Jersey




                  Patheon
                  Process Engineer, Coordinator, Processing Technologist
                  July 2003 - May 2015 (11 years 11 months)
                  Mississauga


                  Novopharm
                  Processing Technologist
                  2002 - July 2003 (1 year)
                  Hood Rd, Markham, ON




                  Education
                  Project Management Professional
                  PMP, Project Management · (2011 - 2011)


                  University of Toronto at Mississauga - Erindale College
                  Certificate in Project Management · (2009 - 2010)


                  BS Chemistry
                  Bachelor of Science, Chemistry · (1989 - 1992)




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